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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

United States of America,

       Plaintiff,

v.                                           Case No. 07-20283

Armando Canez (D-17),                        Honorable Sean F. Cox

      Defendant.
____________________________/

                         OPINION & ORDER
        DENYING DEFENDANT’S MOTION FOR RECONSIDERATION AND
     GRANTING THE GOVERNMENT’S SUPPLEMENTAL MOTION TO PRODUCE
                         VOICE EXEMPLARS

       This matter is before the Court on: 1) Defendant’s motion seeking reconsideration of this

Court’s September 27, 2010 Opinion & Order, wherein this Court Ordered Defendant to produce

a voice exemplar consisting of Defendant reading a neutral passage; and 2) the Government’s

supplemental motion asking this Court to order Defendant to provide voice exemplars consisting

of specific passages from recorded conversations. The Court finds that the issues have been

adequately presented in the parties’ briefs and that oral argument would not significantly aid the

decisional process. The Court therefore orders that the motion will be decided upon the briefs.

See Local Criminal Rule 12.1 and Local Civil Rule 7.1(e)(2), U.S. District Court, Eastern

District of Michigan. For the reasons set forth below, the Court shall DENY Defendant’s

motion for reconsideration and shall GRANT the Government’s supplemental motion.




                                        BACKGROUND

                                                 1
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        This case involves an alleged large-scale marijuana conspiracy which operated over the

course of several years through several different states. Seventeen defendants have been indicted

in this case.

        Defendant Armando Canez (“Defendant”) is charged with Conspiracy to Possess with

Intent to Distribute and to Distribute Marijuana, Over 1000 Kilograms, in violation of 21 U.S.C.

§§ 841(a)(1) & 846 (Count I).

        On July 21, 2010, the Government filed a Motion to Produce Voice Exemplars. (Docket

Entry No. 305). The Court heard oral argument on this motion on September 22, 2010.            In this

motion, the Government sought an order requiring Defendant to provide voice exemplars to

Special Agent Michael Connelly of the F.B.I. In support of the motion, the Government stated

that it intends to introduce evidence at trial of recorded telephone calls and of an intercepted

conversation at a meeting in which Defendant is believed to have participated. The Government

asserted that a comparison of Defendant’s voice exemplars with the recorded conversations will

assist the trier of fact and that Defendant has no constitutional or statutory right to refuse to

produce a voice exemplar. The Government did not submit a proposed order along with its

motion, nor did it specify the type of exemplar it was seeking. Rather, the motion simply asked

this Court to issue an order “requiring defendant Canez to provide voice exemplars” to Agent

Connelly. (Docket Entry No. 305 at 2).

        Defendant did not file a response brief in opposition to the motion.

        At the September 22, 2010 hearing, Defense Counsel indicated that Defendant opposed

the motion. In addition, at that hearing, the Government stated that it was asking the Court to

order Defendant to provide voice exemplars wherein he would speak the very same words that


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were spoken on the tape recordings at issue.

        In an Opinion & Order issued on September 27, 2010 (Docket Entry No. 332), this Court

granted the Government’s motion in part and denied it in part. This Court granted the motion to

the extent that it ordered Defendant to provide a voice exemplar consisting of Defendant reading

a neutral passage similar to the one referenced in United States v. Williams, 704 F.2d 315 (6th

Cir. 1983). This Court denied the motion without prejudice as to the Government’s request that

Defendant be ordered to read the very same words spoken on the recordings at issue. The

Opinion & Order provided that the Government could file a supplemental motion, identifying the

authority for its request, along with a proposed order containing a transcript of any portions of

the recordings that the Government wishes Defendant to read when providing voice exemplars.

(Id. at 3).

        Thereafter, on October 4, 2010, Defendant filed a “Motion for Partial Reconsideration of

the Court’s Ruling Regarding Voice Exemplars” (Docket Entry No. 336). On October 5, 2010,

Defendant filed an “Amended Motion for Partial Reconsideration of the Court’s Ruling

Regarding Voice Exemplars.” (Docket Entry No. 338).

        On October 5, 2010, the Government filed a “Supplemental Motion for the Production of

Voice Exemplars.” (Docket Entry No. 337). On October 8, 2010, the Government filed an

“Amended Supplemental Motion for the Production of Voice Exemplars.” (Docket Entry No.

342). The amended motion was filed because the Government had mistakenly omitted to file

Exhibits One and Two with the motion it filed on October 5, 2010.

        On October 14, 2010, Defendant filed a response brief opposing the Government’s

supplemental motion for production of voice exemplar. (Docket Entry No. 344).


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                                           ANALYSIS

A.     The Court Shall Deny Defendant’s Motion For Reconsideration (Docket Entry Nos. 336
       & 338).

       In this motion, Defendant asks this Court to reconsider its ruling that he must provide a

voice exemplar consisting of a neutral passage. Defendant argues that introduction of any voice

exemplars at trial would be cumulative and unnecessary, given the availability of cooperating

witnesses who could identify his voice at trial, and therefore the Court should exclude the use of

voice exemplars under FED. R. EVID. 403.

       As Defendant recognizes in his motion, a district court’s discretion in ruling upon a 403

objection is very broad. See, e.g., United States v. Deitz, 577 F.3d 672, 689 (6th Cir. 2009).

       At trial, the Government intends to introduce evidence at trial of recorded telephone calls

and of an intercepted conversation at a meeting in which Defendant is believed to have

participated. The Court finds that a voice exemplar, that the jury can compare with those

recorded conversations, has clear probative value. The Court further finds Defendant’s

argument that such evidence would be unduly cumulative and a waste of time to be without

merit. Accordingly, the Court shall deny this motion.

B.     The Court Shall Grant The Government’s Supplemental Motion for Production Of Voice
       Exemplars. (Docket Entry Nos. 337 & 342).

       In its Supplemental Motion for Production of Voice Exemplars, the Government seeks an

order requiring Defendant to provide a voice exemplar consisting of several passages from the

recorded conversations. The Government has attached written transcripts of the recorded

conversations. Exhibit 1 to the Government’s Motion is a transcript of telephone calls from

November 21, 2008, and Exhibit 2 is a transcript of telephone calls from July 26, 2007. These

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transcripts, which are single-spaced, total 58 pages. Of these 58 pages, the Government asks the

Court to enter an order requiring Defendant to read several passages that total approximately two

pages, single-spaced.

       In United States v. Dionisio, 410 U.S. 1 (1973), the United States Supreme Court held

that a witness subpoenaed to appear before a grand jury could be compelled to produce an

exemplar of his voice without violating the Fifth Amendment privilege against compulsory

incrimination. In that case, the grand jury subpoenaed approximately 20 people, including

Dionisio, seeking to obtain voice exemplars which could be compared with recorded

conversations that had been received into evidence. Dionisio and the others were asked to

“examine a transcript of an intercepted conversation, and to go to a nearby office of the United

States Attorney to read the transcript into a recording device.” Id. at 3. Dionisio and others

refused to furnish the exemplars, asserting that doing so would violate their rights under the

Fourth and Fifth Amendments. The Government then sought, and obtained, a court order

compelling Dioniso and the others to furnish the voice exemplars. The Supreme Court held that

requiring grand jury witnesses to provide voice exemplars did not violate their Fourth or Fifth

Amendment rights.

       In subsequent cases, the Sixth Circuit has held that Dionisio is not limited to the grand

jury context and has held that requiring a defendant to submit a voice exemplar does not violate

a constitutional right. United States v. Franks, 511 F.2d 25, 32 (6th Cir. 1975); United States v.

Mitchell, 556 F.2d 371, 382 (6th Cir. 1977). Thus, the Sixth Circuit has affirmed district court

orders compelling a defendant to provide voice exemplars. Franks, supra; Mitchell, supra.

       Accordingly, the Court agrees that Dionisio, and other authority cited by the


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Government, including United States v. Delaplane, 778 F.2d 570 (10th Cir. 1985), supports the

Government’s request that Defendant provide a voice exemplar consisting of him reading several

passages from transcripts of the recorded conversations.

       Defendant opposes the Government’s request on several bases.

       First, Defendant argues that the Government seeks to compel him to read passages that

are “incriminatory and exceed what is necessary for voice identification.” (Pl.’s Br. at 3).

Defendant cites no authority to support his position. Having carefully considered the order

proposed by the Government, and the specific passages contained in it, the Court finds this

objection without merit. The short passages selected do not exceed what is necessary for voice

identification, nor are they so inflammatory as to be prejudicial to Defendant.

       Second, although Defendant acknowledges that the Government does not intend to

present an expert witness who will use voice print evidence at trial, he nevertheless asks this

Court to apply standards developed for use by expert witnesses when spectrographic

comparisons are to be made. (Pl.’s Br. at 4). Defendant claims that, in order to be admissible,

the voice exemplars should be made in the same way that the original recordings were made.

Defendant has not cited any rule of evidence to support his position. Moreover, the cases he

cites in support of his position simply do not deal with analogous situations. To the extent that

the voice exemplars are not provided under circumstances similar to the recordings, such

differences go to the weight to be accorded the evidence admitted at trial, not admissibility.

       Third, Defendant asserts that “[i]f the Court is inclined to permit the Government to use

all of the suggested passages for the voice exemplars then the Defendant should be permitted to

introduce as voice exemplars those portions of the recordings wherein he repeatedly denies


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knowledge of events and persons.” (Pl.’s Br. at 8). That Defendant may seek to introduce

portions of other recordings as evidence at trial does not support his position that the

Government’s request for verbatim exemplars should be denied. If Defendant seeks to introduce

portions of other recordings as evidence at trial, the Court will make appropriate evidentiary

rulings at that time.


                                    CONCLUSION & ORDER

        For the reasons above, IT IS ORDERED that Defendant’s Motion for Reconsideration

(Docket Entry Nos. 336 & 338) is DENIED.

        IT IS FURTHER ORDERED that the Government’s Supplemental Motion for

Production Of Voice Exemplars (Docket Entry Nos. 337 & 342) is GRANTED. The Court shall

issue the proposed order submitted by the Government.

        IT IS SO ORDERED.

                                              S/Sean F. Cox
                                              Sean F. Cox
                                              United States District Judge

Dated: October 18, 2010

I hereby certify that a copy of the foregoing document was served upon counsel of record on
October 18, 2010, by electronic and/or ordinary mail.

                               S/Jennifer Hernandez
                               Case Manager




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